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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    LUMINATI NETWORKS LTD.,                                 §
                                                            §
                   Plaintiff,                               §
                                                            §
    v.                                                      §    CIVIL ACTION NO. 2:18-CV-00299-JRG
                                                            §
    UAB TESONET, UAB METACLUSTER                            §
    LT,                                                     §
                                                            §
                   Defendants.                              §

                                                     ORDER

         Before the Court is Plaintiff Luminati Networks Ltd.’s (“Luminati”) Opposed Motion for

Sanctions (the “Motion”). (Dkt. No. 368). In the Motion, Luminati asks the Court to sanction

Defendant UAB Tesonet (“Teso”) over litigation conduct before the Vilnius Regional Court in

Lithuania, Civil Case No. e2-461-580-2020 (the “Lithuania Litigation”). In particular, Luminati

alleges that Teso has misrepresented the outcome of the above-captioned matter in a brief or

pleading in the Lithuania Litigation. Luminati now asks the Court (1) to order Teso to submit a

corrective filing to the Vilnius Regional Court, (2) to “prohibit Defendants and their counsel from

disseminating misleading statements and mischaracterizations,” and (3) to disqualify Teso’s

Lithuanian counsel, Mr. Justinas Jarusevičius,1 from viewing material covered by this Court’s

protective orders.

         The Court is not inclined to insert itself into proceedings pending before another tribunal—

especially the tribunal of another sovereign nation. Disputes before any tribunal are best resolved

by the normal adversarial process there. Resorting to the disciplinary authority of another tribunal


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  Mr. Jarusevičius has not entered an appearance in the above-captioned matter, but appears as counsel of record in
the Lithuania Litigation and in another matter before this Court. Luminati Networks Ltd. v. Teso LT, UAB et al., 2:19-
cv-00395-JRG (E.D. Tex.). Mr. Jarusevičius is admitted to the Bars of Lithuania and the State of New York.
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that happens to have jurisdiction over the same parties may be improper but at a minimum is not

preferred. To whatever extent (if at all) that any party has engaged in misconduct in the Lithuania

Litigation, that misconduct is best handled by the Lithuanian Court. This Court declines to exercise

its authority in this regard, and would expect any other tribunal to do the same if the roles were

reversed.

       Accordingly, the Motion is DENIED.

      So ORDERED and SIGNED this 11th day of September, 2020.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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